




Dismissed and Memorandum Opinion filed November 6, 2008








Dismissed
and Memorandum Opinion filed November 6, 2008.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00861-CR

____________

&nbsp;

DERRICK BERNARD HANDY,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
228th District Court

&nbsp;&nbsp; Harris County, Texas

Trial Court Cause No. 1163185

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a Aguilty@ plea to theft.&nbsp; In accordance with the terms of a plea bargain agreement
with the State, the trial court sentenced appellant on August 22, 2008, to
confinement for two years in the Institutional Division of the Texas Department
of Criminal Justice.&nbsp; Appellant filed a pro se notice of appeal.&nbsp; We dismiss
the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed
November 6, 2008.

Panel consists of Chief Justice Hedges, Justices
Anderson and Frost.

Do Not Publish C Tex. R. App. P.
47.2(b)





